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  7                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
  8                                    OAKLAND DIVISION
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1.10    ABANTE ROOTER AND PLUMBING,
        INC., individually and on behalf of all others
11      similarly situated,                                  Case No. 4:19-cv-07966-JST
2.12                          Plaintiff,
                                                               [PROPOSED] CLERK’S ENTRY OF
3.13    v.                                                     DEFAULT AGAINST NON-
                                                               APPEARING DEFENDANTS
4.14    UNLOCKED BUSINESS STRATEGIES,
        INC., a New York corporation, THOMAS R.
15      COSTA, an individual, and MERCHANT
        INDUSTRY, LLC d/b/a SWIPE4FREE, a
16      New York limited liability company,

 17                           Defendants.
5.                                                  6.
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19            Pursuant to 55(a) of the Federal Rules of Civil Procedure and upon application by

20     Plaintiff, default is hereby entered against Defendants Unlocked Business Strategies, Inc.,
21     Thomas R. Costa, and Merchant Industry, LLC d/b/a Swipe4Free.
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       DEFAULT ENTERED this ____ day of _________________2020
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                                                                     _________________________
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                                                                           Clerk of Court
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